Case 7:20-cr-00550-VB Document 7 Filed 01/12/21 Page 1 of 1

  

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UNITED STATES DISTRICT COURT POPE SDAA BLES
SOUTHERN DISTRICT OF NEW YORK 7
" Plaintiff(s), CALENDAR NOTICE
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Che, CNCq fn,A Gon
OU Defendant(s).

 

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Kxchetuloa TAKE NOTICE that the above-captioned case has been séRaduted/

dor:
___ Status conference | ____ Final pretrial conference
__ Telephone conference ___ Jury selection and trial
___ Pre-motion conference ___ Bench trial
____ Settlement conference ___ Suppression hearing
___ Oral argument ___ Plea hearing
____ Bench ruling on motion Sentencing

on { 5 -~WA “20.2, at :Q90 Crr_- in Courtroom 620, United States
Courthouse, 300 Quarropas Street, White Plains, NY 10601. Adjourned from __1-2@-2 |

re -
All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
Individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

Dated: /~ /2 - 20 21
SO Win

White Plains, NY
Vincent L. Briccetti
United States District Judge

 

 

 

 
